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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION

  UNITED STATES OF AMERICA                                                                      Plaintiff

  v.                                                             Criminal Action No. 3:22-cr 84-RGJ

  BRETT HANKISON                                                                             Defendant

                                               * * * * *

                             MEMORANDUM OPINION AND ORDER

            Defendant Brett Hankison moves “for leave to conduct post-trial interviews of jurors.” [DE

 252 at 13577]. The United States responded in opposition. [DE 257 at 13681]. Hankison did not

 reply and the time for doing so has expired. The matter is ripe. For the reasons below, the Motion

 for Leave to Conduct Post-Trial Juror Interviews [DE 252] is DENIED.

       I.      BACKGROUND

            A. Jury Selection.

            Jury selection occurred October 15, 2024 through October 18, 2024. In advance of jury

 selection, this Court sent a lengthy questionnaire to all potential jurors eliciting opinions on several

 topics and exploring prior knowledge of the case and its surrounding litigation. Because of the

 large of amount of information available on the internet (including YouTube videos of Hankison’s

 state court trial), the significant public unrest that followed the shooting of Breonna Taylor, the

 prior federal mistrial, and continuing media coverage, the Court determined that individualized

 voir dire of potential jurors was required to ensure a fair and impartial jury. As a result, the Court

 conducted in-person, individualized questioning of each juror in the Court’s library with counsel

 and defendant present.




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        The individual voir dire was conducted without the public and in the more comfortable

 library environment to maintain the juror’s anonymity and encourage full and complete disclosure

 of, at times, very personal opinions on topics such as race, community policing, and the nature of

 the prior unrest regarding the shooting of Breonna Taylor. The Court engaged in the majority of

 questioning and then permitted both counsel to ask follow up questions. Interviews took as long

 as necessary to allow for full inquiry by all parties. A court reporter was present, and after jury

 selection was complete, the transcripts were made available in the court record. The Court and

 parties referred to jurors only by their juror number, and those numbers were disassociated from

 the juror names on questionnaires, transcripts, and other documents to ensure confidentiality. After

 each juror was interviewed, counsel was given the opportunity to make strikes for cause based on

 their questionnaires or interview responses.

        As relevant to this motion, the questionnaires and jury interviews specifically included

 inquiry about the community unrest which occurred after the shooting of Breonna Taylor and the

 potential of additional unrest resulting from any verdict in this case. The questionnaire included:

        “Are you concerned that unrest may result from a guilty or not guilty verdict in this
        case? If yes, please discuss your concerns.”
        “Whether you participated or not, have you ever been personally impacted by any
        such protest or civil disobedience in Louisville or any other metropolitan area? If
        yes, please describe any personal impact.”
 [DE 187; DE 190; DE 191]. This question was also covered at length in each juror interview.

 Hankison’s counsel did not object to or move to strike any of the twelve deliberating jurors during

 voir dire based on their responses to questions about the possibility of public unrest after trial.

        B. Protection of Juror Integrity During Trial.

        Prior to and during trial the Court issued several orders and acted to ensure the integrity of

 the jury process and to minimize the risk of any outside influences.


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         First, the questionnaires contained specific instructions in bold regarding outside

 influences which the jurors had in hand from the moment they became aware of the nature of the

 trial. Those instructions stated:

         •   You are instructed and required not to conduct any outside research about
             the case, the subject matter, the prosecution, or the defendant. This
             prohibition covers all kinds of research, including online or other
             technological research.
         •   You may not discuss the case or this questionnaire with anyone, including
             family members, friends, and fellow prospective jurors.
         •   You may not share information about your service as a juror with anyone,
             including on social media websites, blogs, or the like.
         •   From the day you receive this questionnaire until the end of jury selection,
             you are instructed not to seek out information about this case, and, to the
             extent possible, to limit your exposure to information about this case. These
             obligations will continue until the Court expressly instructs you otherwise.
         •   Failure to abide by these instructions could result in Court-imposed
             consequences or sanctions.

 [DE 187; DE 190; DE 191]. These admonitions were reiterated each day of the trial and each time

 the jury came and left the courtroom and included the instruction that they must only consider

 information “heard within the four walls of this courtroom.” [DE 221 at 12665, ln. 8 - 12667, ln.

 23]. The Court even specifically instructed jurors with smart phones to disable news media

 notifications to prevent accidental exposure to current reporting about the trial. [DE 221 at 12665,

 ln. 25 - 12666, ln. 7].

         Prior to trial the Court also issued an Order for Rules of Trial. [DE 185]. That order

 contained decorum instructions intended to prevent outside influences from reaching the jurors

 and to protect their identities while in the courtroom. The order stated:




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        •   Consistent with General Order 2018-09 RE: Courthouse Security and
            Limitation on the Use of Portable Communication Devices Within the United
            States Courthouses in the Western District of Kentucky, portable
            communication devices are not allowed in the courtrooms except by court
            employees, officers of the court engaged in the conduct of court business, and
            law enforcement personnel.
        •   Consistent with the Judicial Council’s Policy Guidelines, cameras of any kind
            (including camera telephones and laptop computer cameras), video cameras of
            any kind (including video telephones and video cameras connected to laptop
            computers), and audio recording devices of any kind are not permitted in the
            Courthouse
        •   No conversations or gestures that would disrupt the proceedings or distract
            jurors or witnesses are permitted.
        •   No signs, hats, t-shirts, or other clothing that display slogans that could be
            construed to influence members of the jury or make any statement about any
            issue relevant to the trial will be permitted. Enforcement of this prohibition is
            left to the sole discretion of the Court and U.S. Marshal.

 [DE 185 at 5962].

        During trial the Court also issued a partial sequestration order for jury management. [DE

 198 at 9282]. To manage the trial efficiently and expeditiously and “to minimize the risk of the

 juror’s exposure to attorneys in this case, witnesses, the defendant, media, and crowds during entry

 and exit of the courthouse during the lunch hour,” the Court ordered sequestration during lunch.

 Id. In addition, the United States Marshals Service was ordered to take certain daily measures to

 safeguard the jurors’ anonymity and shield them from inadvertent interactions with the public and

 media during their arrival and departure from the courthouse. [DE 199 (Sealed Order)]. No

 allegations have been presented that any of these orders were violated.

        C. Jury Deliberations and Verdict.

        The jury trial began on October 21, 2024 and continued through October 24, 2024; and

 October 28, 2024 through November 1, 2024. At the conclusion of closing arguments, alternate

 jurors were pulled by the Court on October 30, 2024 at 1:20 p.m. Those jurors were released from

 service and the remaining twelve jurors deliberated until approximately 5:00 p.m. The jury


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 returned at 9:00 a.m. on October 31, 2024 and deliberated until they requested to adjourn at 4:00

 p.m. The jury again returned November 1, 2024 at 9:00 a.m. and deliberated with limited questions

 until indicating through a note to the Court that they were unable to reach a unanimous verdict at

 12:22 p.m. With the agreement of all counsel, the Court gave an Allen charge on both counts.

           At 5:52 p.m. the jury reported they continued to disagree “on one count.” After consultation

 with counsel, the Court read the partial verdict instruction permitting them to return a verdict on

 one count before continuing to deliberate on the remaining count. While all counsel agreed to the

 partial verdict instruction, defense counsel initially opposed the reading of a second Allen charge.

           At 6:43 p.m. the jury delivered a unanimous verdict of not guilty as to Count 2 of the

 Indictment. The verdict was published in open Court at 6:50 p.m. and the jury was polled. Having

 consulted their client off the record, the defense counsel then withdrew their objection to the

 second Allen charge but agreed with the court to give the option for the jury to continue

 deliberations or adjourn for the evening and return on Monday. With the parties in agreement, the

 Court read to the jury the second Allen charge as to Count 1 of the Indictment at 7:10 p.m. and

 gave the jurors the option to continue deliberations or adjourn for the evening. The jury indicated

 to the Court at 7:22 p.m. that they would continue deliberations and dinner was ordered for the

 jury.

           A final note was sent to the Court at 9:02 p.m. stating that the jury had reached unanimous

 verdict as to Count 1 of the Indictment. The jury delivered a unanimous verdict of guilty as to

 Count 1 of the Indictment. The verdict was published in open Court at 9:20 p.m. as to Count 1 and

 the jury was polled.

           At the conclusion of their service, the Court reminded the jury of Local Rule 24.1(a) and

 stated:



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           I'm going to advise you, as I have before, that local criminal Rule 24.1 provides
           that you may not be contacted by anyone to be interviewed or communicated with
           before, during, or after the trial. And that is a local rule that we enforce. If anyone
           does try to contact you, you are to contact my chambers or the district court and we
           will handle that appropriately.

 [DE 243 at 11834, ln. 5-11].

     II.        ANALYSIS

           Hankison moves for leave to conduct post-trial interviews of jurors “regarding any external

 or unlawful influences to which any juror may have been exposed.” [DE 252 at 13578]. Hankison

 asserts that

           [t]he specter of external influence improperly impacting the jury carries bears [sic]
           greater consideration in this matter given the concerns expressed by various jurors
           about potential civil unrest that may occur depending on the outcome of the trial,
           and given the emotional medical episode experienced by Juror #108 on October 18,
           2024, which required medical attention, and was observed by at least some segment
           of the jurors.

           Given the length of deliberations as well as the jury indicating that they were unable
           to reach a unanimous verdict on two occasions prior to a guilty verdict, this court
           is well within its discretion to allow juror interviews.

 Id. (citation omitted). The United States opposes the motion asserting that Hankison has not

 presented any colorable claims of outside influences that would warrant permitting such an

 inquiry. [DE 257 at 13684].

           The decision whether to allow attorneys to interview jurors post trial lies in the sound

 discretion of the trial judge. Freeman v. Bandy, 2013 WL 5835773, at *2 (M.D. Tenn. Oct. 30,

 2013) (citing Holmes v. Telecheck Int'l, Inc., 2008 WL 687098, *1 (M.D. Tenn. Mar.10, 2008) and

 Wilkerson v. Johnson, 699 F.2d 325, 330 (6th Cir. 1983)). It is well established that federal courts

 generally disfavor post-trial juror interviews. Nabkey v. Hoffius, 827 F.Supp. 450, 454, n. 2

 (W.D.Mich. 1993) (“The First Amendment interests of litigants and attorneys to satisfy their




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 curiosity and improve their advocacy are outweighed by the jurors’ interest in privacy and the

 public’s interest in well-administered justice.”).

        The principal purpose of refusing contact with jurors following the verdict is to prevent

 “fishing expeditions in search of information with which to impeach jury verdicts.” Tschira v.

 Willingham, 135 F.3d 1077, 1089 (6th Cir. 1998). The Supreme Court has explained the

 substantial policy considerations of this prohibition at length.

        As early as 1915 this Court explained the necessity of shielding jury deliberations from

 public scrutiny:

        [L]et it once be established that verdicts solemnly made and publicly returned into
        court can be attacked and set aside on the testimony of those who took part in their
        publication and all verdicts could be, and many would be, followed by an inquiry
        in the hope of discovering something which might invalidate the finding. Jurors
        would be harassed and beset by the defeated party in an effort to secure from them
        evidence of facts which might establish misconduct sufficient to set aside a verdict.
        If evidence thus secured could be thus used, the result would be to make what was
        intended to be a private deliberation, the constant subject of public investigation—
        to the destruction of all frankness and freedom of discussion and conference.

 Tanner v. United States, 483 U.S. 107, 119–20 (1987) (quoting McDonald v. Pless, 238 U.S. 264,

 267-68 (1915)). “Moreover, full and frank discussion in the jury room, jurors’ willingness to return

 an unpopular verdict, and the community’s trust in a system that relies on the decisions of

 laypeople would all be undermined by a barrage of postverdict scrutiny of juror conduct.” Tanner,

 483 U.S. 107, 120-21 (citing Note, Public Disclosures of Jury Deliberations, 96 Harv.L.Rev. 886,

 888–892 (1983)); United States v. Odunze, 278 F. App’x 567, 573 (6th Cir. 2008).

        Federal Rule of Evidence 606(b) further reflects this prohibition and limits the scope of

 permissible juror testimony:

        A juror may not testify as to any matter or statement occurring during the course of
        the jury’s deliberations or to the effect of anything upon that or any other juror’s
        mind or emotions as influencing the juror to assent to or dissent from the verdict or
        indictment or concerning the juror’s mental processes in connection therewith.

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 Fed. R. Evid. 606(b). Additionally, this prohibition is reflected in Local Rule 24.1(a), which states

 that “[u]nless permitted by the Court, no person, party or attorney, nor any representative of a party

 or attorney, may contact, interview, or communicate with any juror before, during or after trial.”

        “The only exception to this strict restriction is that a juror may testify as to whether

 extraneous prejudicial information was improperly brought to the jury’s attention, whether any

 outside influence was improperly brought to bear upon any juror, or whether there was a mistake

 in entering the verdict onto the verdict form.” Telecheck Int’l, Inc., 2008 WL 687098, at *2 (citing

 Fed. R. Evid. 606(b)); American Trim, L.L.C. v. Oracle Corp., 217 F.Supp.2d 826, 828 (N.D. Ohio

 2002). “Absent a showing of juror impropriety, litigants and attorneys have no right to invade the

 province of the jury room.” Telecheck Int’l, Inc., 2008 WL 687098, at *1.

        Under 606(b), the Sixth Circuit has repeatedly required a defendant seeking post-trial juror

 interviews to show “a ‘colorable claim’ that jurors were exposed to external influences likely to

 taint the verdict.” United States v. Kechego, 91 F.4th 845, 852 (6th Cir. 2024); United States v.

 Bailey, 2022 WL 2444930, at *8 (6th Cir. July 5, 2022) (the claim “must be supported by credible

 evidence”); United States v. Gonzales, 227 F.3d 520, 527 (6th Cir. 2000) (claim must present a

 “likelihood of having affected the verdict”). “But a claim of external influence is not colorable

 merely because it is possible.” Kechego, 91 F.4th at 850 (citing United States v. Lanier, 870 F.3d

 546, 549 (6th Cir. 2017) (“[A] Remmer hearing is not necessary in every instance of possible

 unauthorized third-party contact.”)). A defendant must make a supported assertion that the jury

 deliberations were prejudiced by information “derive[d] from a source external to the jury.”

 Warger v. Shauers, 574 U.S. 40, 41 (2014) (citing Tanner, 483 U.S. at 117). “But if the case instead

 involves an ‘internal influence,’ the constitution does not require post-verdict interrogation of

 jurors.” Smith v. Nagy, 962 F.3d 192, 200 (6th Cir. 2020).

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        As a result, the key inquiry is whether the alleged colorable claim is an external or internal

 influence. The Sixth Circuit has laid out the differences as follows:

        The distinction between external and internal influences is therefore critical. In
        Tanner, the Supreme Court decided that allegations of jurors being intoxicated
        during the trial related to an internal influence . . . [f]ocusing on ‘the nature of the
        allegation rather than the physical location of the jurors at the time the alleged
        misconduct occurred’ . . . Tanner Court distinguished cases where a bribe was
        offered to a juror . . . a court bailiff made comments about the defendant in the
        presence of the jury . . . where a juror submitted an employment application to the
        prosecutor’s office during the trial . . . and where jurors brought newspaper articles
        about the case into the jury room . . . [i]nstead, the Court likened the circumstances
        in Tanner to a claim that a juror had a psychological disorder . . . or a claim that a
        juror did not understand English . . . [m]ore recently, the Supreme Court
        unanimously decided that alleged bias based on a juror’s own personal experiences
        also constituted an internal influence . . . ‘[e]xternal’ matters include publicity and
        information related specifically to the case the jurors are meant to decide, the Court
        explained, ‘while ‘internal’ matters include the general body of experiences that
        jurors are understood to bring with them to the jury room.

        Likewise, we have explained that an external influence ‘must either relate to the
        case that the jurors are deciding or be physically brought to the jury room or
        disseminated to the jury’ . . . [c]onsiderations based on jurors’ ‘general knowledge’
        or ‘their own wisdom, experience, and common sense’ do not constitute external
        influences . . . we found an external influence where jurors looked up the
        defendant’s Facebook profile and performed a Google search for information
        relating to issues in the case . . . [b]ut we found no external influence where a jury
        decided to sentence a defendant to death after discussing a news account of a
        different defendant who had committed murder after being paroled.

 Smith, 962 F.3d at 201 (internal citations omitted).

        Defendants generally present three vague arguments to support post-trial juror interviews

 in this case: (1) “concerns expressed by various jurors about potential civil unrest that may occur

 depending on the outcome of the trial;” (2) “the emotional medical episode experienced by Juror

 #108 on October 18, 2024;” and (3) the jury indications to the Court that “they were unable to

 reach a unanimous verdict on two occasions prior to the guilty verdict.”




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        A. Concerns Expressed By Various Jurors About Potential Civil Unrest.

        Hankison generally alleges juror concerns “about potential civil unrest that may occur

 depending on the outcome of the trial” but fails to indicate how this may have affected

 deliberations. No assertions were made by any jurors regarding this issue during the trial or the

 deliberations and the Court finds no evidence that any extraneous external influence was

 improperly brought to the jury’s attention on this issue or that concerns of possible unrest played

 any role in the deliberations or prejudiced the verdict. Moreover, based on the lack of specificity,

 it is impossible to determine whether this allegation would potentially involve and external or

 internal influence. Smith, 962 F.3d at 201. As a result, Hankison has failed to present a colorable

 claim of an external influence “[likely to] hav[e] affected the verdict” and a post-verdict inquiry is

 unwarranted.

        Moreover, this issue was fully explored in the questionnaire, as well as in the individualized

 inquiry made by the court and counsel during the voir dire process. Despite a full opportunity to

 explore these issues with the jurors, Hankison’s counsel did not object or move to strike any of the

 twelve jurors who deliberated on these grounds. To the extent this issue was already explored

 during voir dire and counsel did not move to strike any of the deliberating jurors based on this

 issue, any objection now is waived. Marks v. Shell Oil Co., 895 F.2d 1128, 1129–30 (6th Cir.

 1990) (“Marks waived this ground for challenging Kenney’s fitness for jury service by failing to

 raise it at voir dire . . . [a]lthough Marks did challenge Kenney as a juror for cause, Marks’s

 challenge was based on Kenney's past employment in the oil business . . . Marks never suggested

 that Kenney could not be an impartial juror because of any concerns he had over the effect that his

 time in jury service would have on his business. This failure cannot stem from any lack of notice

 to Marks of Kenney’s concerns because they were discussed in full during the voir dire.”); see also



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 Smith v. Vicorp, Inc., 107 F.3d 816, 819 (10th Cir.1997) (“Plaintiff’s speculation that the jury’s

 refusal to award damages after finding a reckless and wanton invasion of privacy was the result of

 tort reform bias falls too wide of the mark” when counsel had “the opportunity to ferret out possible

 tort reform bias” during voir dire); Dougherty v. Marshalls of MA, Inc., No. 08-CV-3443, 2011

 WL 1562251, at *7 (E.D. Pa. Apr. 26, 2011), aff'd, 460 F. App’x 132 (3d Cir. 2012). See generally

 Ross v. Oklahoma, 487 U.S. 81, 86 (1988) (concluding that a criminal defendant failed to establish

 that the jury was not impartial when, among other things, none of the jurors who ultimately served

 was challenged for cause).

        B. Medical Episode Experienced By Juror #108 On October 18, 2024.

        Hankison also generally alleges that the “emotional medical episode” experienced by Juror

 #108 which was “observed by at least some segment of the jurors,” was an outside influence on

 jurors but again fails to indicate how this may have affected the deliberations or prejudiced the

 verdict. [DE 252 at 13578]. On the first day of opening statements, Juror #108 had a medical issue

 which involved some level of anxiety about the court proceedings and his presence in the

 courthouse. [DE 221 at 12654, ln. 3 – 12655, ln. 5]. Specifically, the Court explained to counsel

 that “[h]e has disclosed to us a prior medical condition including a brain bleed that occurred well

 in advance -- first one in 2016, second one in 2018. He has stress -- when he gets stressed, he has

 episodes.” [Id.]. This individual had not disclosed this medical issue as part of his questionnaire

 or interview. [DE 237 at 11137, ln. 8 – 11145, ln 6; DE 270]. Defense counsel did not ask any

 follow up questions and did not object on any grounds to his qualification. Notably, however, for

 purposes of this motion, Juror #108 experienced this medical issue while the jurors were moving

 their cars before being sworn in and the Court explained to counsel on the record that “[o]n the

 positive side, most of the jurors had already left to get their cars.” [DE 221 at 12654, ln. 12-13].



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        The Court presented this issue to counsel and both sides agreed to excuse the juror and

 continue with one fewer alternate. Counsel raised no concerns that the episode could adversely

 impact the juror’s deliberations or prejudice the verdict. To the extent this issue was presented to

 counsel, and no objections were made at the time, this argument is also likely waived. Marks, 895

 F.2d at 1129–30.

        Regardless, this issue happened before opening arguments began and nearly two

 weeks prior to deliberations. Hankison has presented no credible evidence that this incident is an

 external influence as the Supreme Court has defined it or that it had any effect on the deliberations.

 As a result, the Court find no reason to permit post-trial interviews on this issue.

        C. Inability To Reach Unanimous Verdict.

        Finally, Hankison asserts that the length of the deliberations or inability to reach a verdict

 without the use of Allen instructions somehow influenced deliberations warranting post-trial

 interviews. Counsel suggests that the length of deliberations and the deadlocked nature of those

 deliberations somehow indicates external influence.         But, Hankison provides no evidence

 regarding what the external influence was or how the deliberations were influenced. Without

 more, this argument is mere speculation amounting to a fishing expedition and does not support

 post-verdict jury inquiry.

        Notably, counsel does not argue that the Allen instructions were unduly coercive, nor could

 they, given both the amount of time between the instructions and the verdict as well as their own

 agreement to the instructions.




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       III.      CONCLUSION

              Having considered the motion and the applicable law, and being otherwise sufficiently

 advised, the Court ORDERS that Hankison’s Motion for Leave to Conduct Post-Trial Interviews

 [DE 252] is DENIED.




                                                    February 6, 2025


 cc:          Counsel of record




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